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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


 MARSHALL SMITH, BRANDON
 HERMAN, CHAD PATTERSON, JEFFERY
 ROBERTS, MICHAEL WILL, SUSAN
 WINSTEAD, ROBERT BOHANNON,                           Civil Action No. 1:18-cv-4990
 HOLLY BUCKINGHAM, RICHARD
 MORELLO, JR., ROBERT HARRIS,
 AMANDA LARISCY, CHARLES                              CLASS ACTION
 NEWMAN, and PAUL CHRISTIANSEN
 individually and on behalf of all similarly          Jury Trial Demanded
 situated persons,
                                                      Hon. Edmond E. Chang
           Plaintiffs,

    v.

 COMPLYRIGHT, INC., a Minnesota
 corporation,

           Defendant.


                     ORDER GRANTING THE PARTIES’ JOINT
               MOTION TO DISTRIBUTE AMOUNTS REMAINING IN THE
              SETTLEMENT FUND TO AGREED UPON CY PRES RECIPIENT

          THIS MATTER coming before the Court on the Parties’ Joint Motion to Distribute

Amounts Remaining in the Settlement Fund to Agreed Upon Cy Pres Recipient, the Court being

duly advised in the premises, IT IS HEREBY ORDERED:

          The Parties’ Joint Motion is GRANTED. The Settlement Administrator is directed to

distribute all amounts remaining in the Settlement Fund to the Electronic Privacy Information

Center.

Dated: December 11, 2020

                                                  ____________________________________
                                                  Honorable Edmond E. Chang
                                                  United States District Judge
